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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

 

Case No. Misc. 21-43 DMG (MRWx) Date February 8, 2021
Title United States v. SpaceX
Present: Hon. Michael R. Wilner, U.S. Magistrate Judge
Veronica Piper n/a
Deputy Clerk Court Reporter / Recorder
Attorneys for Petitioner: Attorneys for Respondent:
n/a n/a
Proceedings: ORDER RE: SCHEDULING
1. The Court conducted a video hearing with the parties today. Based on that

discussion, here’s the scheduled for the subpoena enforcement action:

a. SpaceX’s responsive submission (NTE 25 pages plus relevant exhibits /
attachments / declarations) due by Friday, February 26.

b. The government’s optional reply (same limits) due by Friday, March 12.
c. Video hearing tentatively set for Thursday, March 18, at 10 a.m. PT.

2. The parties may jointly contact the Clerk at the chambers’ e-mail address to
request revisions to the schedule or to arrange additional meetings with Judge Wilner.

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